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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                                    :
   IN RE: ELMIRON (PENTOSAN                         :   Case No. 2:20-md-02973 (BRM)(ESK)
   POLYSULFATE SODIUM) PRODUCTS                     :   MDL No. 2973
   LIABILITY LITIGATION                             :
                                                    :
   THIS DOCUMENT RELATES TO:                        :   JUDGE BRIAN R. MARTINOTTI
   ALL CASES                                        :   JUDGE EDWARD S. KIEL
                                                    :
                                                    :

                                             ORDER

         THIS COURT, having reviewed Plaintiffs’ Motion to Establish the Elmiron Fee Fund and

  Elmiron Expense Fund at Esquire Bank and to Appoint Archer Systems LLC as Escrow Agent

  (ECF No. 196), and having received no objection thereto

         IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED and Plaintiffs’ Co-Lead

  Counsel is directed to establish two interest-bearing accounts at Esquire Bank to receive and

  disburse common benefit funds as provided in Amended Case Management Order No. 15. The

  first fund shall be designated the “Elmiron Fee Fund” and the second fund shall be designated the

  “Elmiron Expense Fund.” Each fund shall qualify as a qualified settlement fund as defined in

  Internal Revenue Code § 468B and the Regulations thereunder. Both funds will be held subject to

  the direction of this Court.

         This Court further appoints Archer Systems LLC to serve as Escrow Agent over the Funds.

  IT IS SO ORDERED.

  Dated this 29th day of August 2023



                                              /s/Brian R. Martinotti
                                              Brian R. Martinotti
                                              United States District Judge
